                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                       )
 and GENEVANT SCIENCES GmbH,                         )
                                                     )
                  Plaintiffs,                        )
                                                     )
    v.                                               ) C.A. No. 22-252-MSG
                                                     )
 MODERNA, INC. and MODERNATX, INC.,                  )
                                                     )
                  Defendants.                        )


                                STIPULATION TO EXTEND TIME

         The parties hereby stipulate and agree, subject to the approval of the Court, that the time

to raise disputes with the Court concerning 30(b)(6) notices (D.I. 233) is extended through and

including April 15, 2024.


/s/ Nathan R. Hoeschen                               /s/ Travis J. Murray
 John W. Shaw (No. 3362)                              Jack B. Blumenfeld (No. 1014)
 Karen E. Keller (No. 4489)                           Brian P. Egan (No. 6227)
 Nathan R. Hoeschen (No. 6232)                        Travis J. Murray (No. 6882)
 Emily S. DiBenedetto (No. 6779)                      MORRIS, NICHOLS, ARSHT
 SHAW KELLER LLP                                       & TUNNELL LLP
 I.M. Pei Building                                    1201 North Market Street
 1105 North Market Street, 12th Floor                 P.O. Box 1347
 Wilmington, DE 19801                                 Wilmington, DE 19899
 (302) 298-0700                                       (302) 658-9200
 jshaw@shawkeller.com                                 jblumenfeld@morrisnichols.com
 kkeller@shawkeller.com                               began@morrisnichols.com
 nhoeschen@shawkeller.com                             tmurray@morrisnichols.com
 edibenedetto@shawkeller.com
                                                     Attorneys for Defendants
 Attorneys for Plaintiffs


 Dated: April 5, 2024



                                                      1
SO ORDERED this   day of                    2024.


                           _________________________________
                            UNITED STATES DISTRICT JUDGE




                                2
